
54 So. 3d 636 (2011)
Charles Edward BROWN, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and JCA Ventures, Inc. Deal Tire Wheel, Appellees.
No. 1D10-5831.
District Court of Appeal of Florida, First District.
February 28, 2011.
Charles Edward Brown, pro se, Appellant.
A. Robert Whaley, General Counsel, and Louis A. Gutierrez, Assistant General Counsel, Florida Unemployment Appeals Commission, for Appellees.
PER CURIAM.
DISMISSED. Durando v. Palm Beach County, 719 So. 2d 1258 (Fla. 1st DCA 1998).
The appellees' Motion to Dismiss, served January 24, 2010, is denied.
LEWIS, CLARK, and ROWE, JJ., concur.
